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                     UNITED STATES BANKRUPTCY COURT
                        WESTERN DISTRICT OF TEXAS
                              WACO DIVISION
  In Re:                          §         Chapter 7
                                  §
  LITTLE RIVER HEALTHCARE         §         Case No. 18-60526-rbk
  HOLDINGS, LLC, et al.           §
                                  §         (Jointly Administered)
                  1
         Debtors.                 §

      APPLICATION FOR RETENTION OF ACCOUNTANT PURSUANT TO 11 U.S.C
                                 §327(a)

  The Trustee intends to request that this Application be set for hearing on an
  expedited basis. Once a hearing date is set by the Court, notice will be provided.

  Any objection or response to the Application should be filed and served prior to any
  such hearing, or according with any deadline set by the Court.

  TO THE HONORABLE RONALD B. KING, CHIEF U.S. BANKRUPTCY JUDGE:

          COMES NOW James Studensky, Trustee, the duly appointed and acting trustee in the

  above-captioned jointly administered bankruptcy cases, and files this his Application for

  Retention of Accountant Pursuant to 11 U.S.C. §327(a) (the “Application”), and in support

  thereof would respectfully show the Court as follows:

          1.       The applicant is James Studensky (the “Trustee”), Chapter 7 Trustee, in these

  jointly administered cases which were originally filed under Chapter 11 on July 24, 2018, and

  converted to a case under Chapter 7 on December 7, 2018.

          2.       The Trustee seeks to employ George C. DeReese, Jr., CPA, PLLC (the

  “Accountant”), as his certified public accountant to prepare tax returns for the Debtors and to

  handle any accounting issues that may arise during these cases, including but not limited to

  preparation of K-1s.        It is in the best interest of the bankruptcy estates (collectively, the

  1 The Debtors in these chapter 7 cases, along with the last four digits of each Debtor’s federal tax identification
  number, as applicable, are: Compass Pointe Holdings, LLC (1142), Little River Healthcare Holdings, LLC (7956),
  Timberlands Healthcare, LLC (1890), King’s Daughters Pharmacy, LLC (7097), Rockdale Blackhawk, LLC (0791),
  Little River Healthcare - Physicians of King’s Daughters, LLC (5264), Cantera Way Ventures, LLC (7815), and
  Little River Healthcare Management, LLC (6688). The bankruptcy cases of Compass Pointe Holdings, LLC (Case
  No. 18-60525) and Little River Healthcare Physicians of Kings Daughters, LLC (Case No. 18-60531) were closed
  on April 11, 2019; all other Debtors’ cases remain open.

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  “Bankruptcy Estate”) that the Accountant be employed to advise the Trustee regarding

  accounting matters affecting the Bankruptcy Estate and to prepare all necessary income tax

  returns for the Bankruptcy Estate.

         3.      The Accountant represents no interest adverse to the Bankruptcy Estate. Attached

  hereto as Exhibits “A” and “B”, respectively, are the Disclosure of Compensation under 11

  U.S.C. §329 and Bankruptcy Rule 2016(b) and the affidavit of George C. DeReese, Jr. that the

  Accountant has no interest adverse to the Bankruptcy Estate.

         4.      As reflected in Exhibit B, the Accountant was previously employed by the

  Debtors. The Trustee does not believe that the Accountants prior roles with the Debtors gives

  rise to any actual conflict of interest; to the contrary, the Accountant’s familiarity with the

  Debtors are expected to result in meaningful savings to the Bankruptcy Estate in that an

  accountant not already familiar with the Debtors may have to devote substantial resources to

  obtaining a working knowledge of the Debtors such as would enable effective representation as

  accountant for the Trustee.

         5.      The Trustee proposes to provide the Accountant with a retainer of $10,000.00 due

  to the size and nature of the work that the Trustee anticipates the Accountant will be tasked with

  handling. This arrangement has been approved by Monroe Capital Management Advisors, LLC,

  as administrative agent, on behalf of itself and the other lenders, the parties claiming DIP

  financing liens against substantially all assets of the Bankruptcy Estate.

         6.      No other professionals in the same profession have been previously employed

  pursuant to Court order in these cases.

         7.      The Accountant will be compensated pursuant to the employment contract as

  Exhibit “C”. The hourly rates charged are as follows: certified public account George C.

  DeReese, Jr. is $150.00 per hour and staff at $75.00 per hour. The Accountant will also be

  entitled to reimbursement for reasonable and necessary out-of-pocket expenses.                  No
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  compensation will be paid until a fee application has been filed and approved by the Court,

  pursuant to 11 U.S.C. §330 and the requirements of any other applicable case law.

          4.      Pursuant to 11 U.S.C. §503(b), the Trustee requests permission from the Court

  authorizing and approving the payment of any Estate taxes that may be due as a result of any

  filed tax returns.

          WHEREFORE, James Studensky, Chapter 7 Trustee, prays that he be authorized to retain

  certified public account George C. DeReese, Jr., CPA, PLLC as his accountant in the above

  Chapter 7 proceeding, and for such other relief as is just.

                                                Respectfully submitted,


                                                By:/s/ James Studensky
                                                   James Studensky, Chapter 7 Trustee

                                                and

                                                GRAVES, DOUGHERTY, HEARON & MOODY, P.C.
                                                401 Congress Avenue, Suite 2700
                                                Austin, TX 78701
                                                Telephone: 512.480.5626
                                                Facsimile: 512.536.9926
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                                                By:/s/ Brian T. Cumings
                                                        Brian T. Cumings
                                                        State Bar No. 24082882

                                                COUNSEL FOR JAMES STUDENSKY,
                                                CHAPTER 7 TRUSTEE




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                                  CERTIFICATE OF SERVICE

  I hereby certify that on this the 3rd day of August, 2019, I electronically filed this Application
  with the Clerk of Court using the CM/ECF system which will send notification of such filing to
  those receiving electronic service, or service was made by email as reflected below. The
  attached Notice of Employment is being served within two business days as reflected on the
  Service List appended to this Application.

  Little River Healthcare Holdings, LLC               Office of the United States Trustee
  Attn: Ronald Winters, Former Chief                  Attn: Shane P. Tobin
  Restructuring Officer                               903 San Jacinto, Room 230
  1700 Brazos Ave                                     Austin, TX 78701
  Rockdale, TX 76567                                  Shane.P.Tobin@usdoj.gov
  rwinters@hcmpllc.com

  Vinson & Elkins, LLP                                Morris D. Weiss
  Attn: Bill Wallander; Matt Pyeatt;                  Waller Lansden Dortch & Davis, LLP
  Bradley Foxman                                      100 Congress Ave.
  Trammell Crow Center                                18th Floor
  2001 Ross Avenue, Suite 3700,                       Austin, TX 78701
  Dallas, TX 75201-2975                               Morris.Weiss@wallerlaw.com
  bwallander@velaw.com;                               Debtors’ Counsel
  mpyeatt@velaw.com;
  bfoxman@velaw.com
  Attorneys for Monroe Capital
  Management Advisors, LLC


                                               By:/s/ Brian T. Cumings
                                                  Brian T. Cumings




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